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                                                 No. 24-542

                           IN THE UNITED STATES COURT OF APPEALS
                                   FOR THE NINTH CIRCUIT
                                            ____________________

                                             KIM RHODE, ET AL.,
                                                           Plaintiffs and Appellees,

                                                      V.

                                ROB BONTA, IN HIS OFFICIAL CAPACITY AS
                             ATTORNEY GENERAL OF THE STATE OF CALIFORNIA,
                                                         Defendant and Appellant.
                                            ____________________

                             On Appeal from the United States District Court
                                 for the Southern District of California
                                       No. 3:18-cv-00802-BEN-JLB
                                 The Honorable Roger T. Benitez, Judge
                                            ____________________

                                    APPELLANT’S OPENING BRIEF
                                            ____________________

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                                              INTRODUCTION

                  Background checks have long been used to prevent persons who are legally

             prohibited from possessing firearms from doing so. The Supreme Court has

             endorsed background checks as a legitimate means “to ensure” that “those bearing

             arms in the jurisdiction are, in fact, ‘law-abiding, responsible citizens.’” New York

             State Rifle & Pistol Ass’n v. Bruen, 597 U.S. 1, 38 n.9 (2022) (quoting District of

             Columbia v. Heller, 554 U.S. 570, 635 (2008)). The Court has also recognized that

             the Second Amendment does not bar “laws imposing conditions and qualifications

             on the commercial sale of arms,” which are “presumptively lawful.” Heller, 554

             U.S. at 626-627 & n.26. Consistent with those principles, state and federal law

             have for decades required licensed vendors to conduct background checks and to

             comply with related regulatory requirements for firearms sales.

                  In 2016, California voters decided that vendors should also conduct

             background checks for ammunition transactions, to ensure that those who buy

             rounds for firearms are legally authorized to do so. To carry out that objective,

             voters established a background check regime for ammunition transactions that is

             identical in all material respects to the requirements that apply to firearms

             transactions in the State. Both require vendors to conduct background checks

             before transferring firearms or ammunition. Both also place certain processing




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             requirements on all transactions, including transactions between residents and out-

             of-state vendors, to prevent evasion of the background check requirement.

                  For the same reasons that firearm background check requirements comport

             with the Second Amendment, ammunition background check requirements

             likewise comport with the Second Amendment. But the district court nonetheless

             concluded that the ammunition background check requirements were

             unconstitutional on their face. The court did not take issue with—and plaintiffs did

             not challenge—the State’s authority to disqualify certain individuals from

             possessing firearms and ammunition, but held that the Second Amendment confers

             a right to purchase ammunition without submitting to a background check. That

             analysis is at odds with the text of the Second Amendment, history, and Supreme

             Court precedent. The challenged background checks do not infringe presumptively

             protected conduct. Even if plaintiffs could establish that their claim implicates a

             right protected by the Second Amendment, the challenged provisions are consistent

             with “the Nation’s historical tradition” of restricting firearms acquisition and

             carriage to persons who are not law-abiding or responsible, and adopting screening

             mechanisms to enforce those underlying restrictions. Bruen, 597 U.S. at 24.

             Further, while Bruen preserved constitutional challenges to background check

             requirements that are applied in an abusive manner, there is no record support for




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             the court’s conclusion that California’s ammunition background check

             requirements belong in that category.

                  Plaintiffs’ separate claims that aspects of California’s ammunition

             background check requirements violate the dormant Commerce Clause and are

             preempted by federal law also fail. California’s transaction processing

             requirements do not discriminate in favor of in-state ammunition vendors.

             Plaintiffs also have not shown that the challenged requirements impose a

             substantial burden on interstate commerce, let alone a burden that is clearly

             excessive when compared to their benefits. In enjoining those provisions, the

             district court failed to act with the “‘extreme caution’” that courts must take before

             “[p]reventing state officials from enforcing a democratically adopted state law.”

             Nat’l Pork Producers Council v. Ross, 598 U.S. 356, 390 (2023). And because

             California’s requirements do not conflict with a federal safe harbor for the

             interstate transportation of firearms, they are not preempted.

                  The district court’s judgment should be reversed and the case remanded for

             entry of judgment in favor of the Attorney General.

                                    JURISDICTIONAL STATEMENT

                  The district court had jurisdiction over plaintiffs’ federal constitutional and

             preemption claims under 28 U.S.C. § 1331. The district court declared

             California’s ammunition background check requirements unconstitutional and


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             permanently enjoined the Attorney General from enforcing those provisions on

             January 30, 2024. 1-ER-33–34; see 1-ER-2 (citing Cal. Penal Code §§ 30352,

             30370(a)-(e), 30312(a)-(b), (d), 30314(a), (c), 30365(a)). The Attorney General

             appealed on the same day. 4-ER-680. This Court has jurisdiction under 28 U.S.C.

             § 1291.

                                      STATEMENT OF THE ISSUES

                  1.    Whether California’s ammunition background check requirements

             violate the Second Amendment.

                  2.    Whether California’s laws requiring ammunition transfers to take place

             in face-to-face transactions by licensed vendors violate the dormant Commerce

             Clause.

                  3.    Whether California’s law requiring residents bringing ammunition into

             the State to first deliver that ammunition to a licensed vendor for processing in a

             face-to-face transaction are preempted by 18 U.S.C. § 926A.

                             ADDENDUM OF STATUTORY PROVISIONS

                  An addendum of pertinent statutory provisions has been filed with this brief.

             Ninth Cir. R. 28-2.7.




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                                       STATEMENT OF THE CASE

                  A.    California’s Ammunition Background Check Requirements

                  Federal and state law have long prohibited certain groups of people from

             possessing firearms and ammunition, including felons, certain noncitizens, and the

             severely mentally ill. See, e.g., 18 U.S.C. § 922(g); Cal. Penal Code §§ 29800,

             30305(a)(1); Cal. Welf. & Inst. Code §§ 8100, 8103. To enforce the firearm

             prohibitions, federal law requires licensed firearm dealers to conduct background

             checks to confirm that purchasers are eligible to possess firearms, and state law has

             further supplemented those requirements. 18 U.S.C. § 922(t)(1). In California,

             commercial vendors must obtain state and federal licenses to sell firearms, and

             must conduct a background check for each sale. Cal. Penal Code §§ 26500, 28220;

             18 U.S.C. § 922(a), (t)(1). Transactions between private parties must be processed

             through licensed firearms dealers, and residents may not import firearms into the

             State without having the firearms first delivered to a licensed dealer, for transfer

             after a background check. Cal. Penal Code §§ 27545, 27585(a). Many States,

             including California, also require residents to pass a background check before they

             may obtain a license to carry their firearms in public. 1


             1
              See Cal. Penal Code §§ 26150, 26202; Colo. Rev. Stat. § 18-12-205; Conn. Gen.
             Stat. § 29-28; Del. Code Ann. tit. 11, § 1441; D.C. Mun. Regs. tit 24, § 2338; Haw.
             Rev. Stat. Ann. § 134-9; 430 Ill. Comp. Stat. 66/35; Md. Code Ann., Pub. Safety
             § 5-305; Mass. Gen. Laws ch. 140, § 131; Mich. Comp. Laws Ann. § 28.422;


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                  In 2016, California voters enacted Proposition 63 to address “loopholes” in

             the State’s gun safety regime. Prop. 63 § 2(5); see 2016 Cal. Stat., Ch. 55 (SB

             1235). 2 Among other measures, voters decided that California law should “require

             background checks for ammunition sales just like gun sales, and stop both from

             getting into the hands of dangerous individuals.” Prop. 63 § 2(7). Five other

             States require residents to pass a background check or obtain a license (which

             requires passing a background check) before they may purchase ammunition. See

             Conn. Gen. Stat. §§ 29-38m, 29-38n; 430 Ill. Comp. Stat. 65/2(a)(2), 65/4; Mass.

             Gen. Laws ch. 140, §§ 131, 131A; N.J. Stat. Ann. §§ 2C:58-3, 2C:58-3.3; N.Y.

             Penal Law §§ 400.02, 400.03.

                  Proposition 63’s ammunition background check requirements closely track

             the background check requirements that apply to firearms transactions in the State.

             Under Proposition 63, any person that sells more than 500 rounds of ammunition

             in any 30-day period must obtain a license. Cal. Penal Code § 30342(a). All




             Minn. Stat. Ann. § 624.714; Nev. Rev. Stat. Ann. § 202.366; N.J. Stat. Ann.
             § 2C:58-4; N.Y. Penal Law § 400.00; N.M. Stat. Ann. § 29-19-5; N.C. Gen. Stat.
             § 14-415.13; Or. Rev. Stat. § 166.291; 18 Pa. Cons. Stat. Ann. § 6109; Va. Code
             Ann. § 18.2-308.04; Wash. Rev. Code Ann. § 9.41.070; Wis. Stat. Ann. § 175.60.
             2
              Proposition 63 included a provision allowing the Legislature to amend the law.
             Prop. 63 § 13. While the initiative was circulating, the Legislature enacted Senate
             Bill 1235, which prospectively amended Proposition 63. 2016 Cal. Stat., Ch. 55
             § 19. References to Proposition 63 in this brief are to the law as amended by
             Senate Bill 1235.

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             ammunition sales must be processed by licensed vendors. Id. § 30312(a)(1). If

             neither party to a sale is a licensed ammunition vendor, the seller must deliver the

             ammunition to a licensed vendor to process the transaction. Id. § 30312(a)(2). For

             each transaction, the vendor must conduct a background check. Id. §§ 30352(c),

             30370; see Cal. Code Regs., tit. 11, §§ 4280-4289. Vendors must also record

             certain information about the transaction, including the purchaser’s identifying

             information and the amount of ammunition acquired, and submit that information

             to the California Department of Justice. Cal. Penal Code § 30352(a)-(b).

                  There are two primary types of background checks that purchasers may

             request. 3 The Basic Check currently costs $19, and authorizes a single transaction

             for any quantity of ammunition. Cal. Penal Code § 30370(a)(3); Cal. Code Regs.,

             tit. 11, § 4283(b). To run a Basic Check, the vendor submits the purchaser’s

             identifying information to a website, usually by swiping a California driver’s

             license or other government ID through a magnetic reader. See Cal. Penal Code

             § 28180(a). The system then compares the purchaser’s identifying information

             against four state databases. 4-ER-616. If the database search produces a hit,




             3
               In addition to these methods, California residents may purchase ammunition if
             they hold a valid certificate of eligibility, which is a license required for selling or
             manufacturing firearms and ammunition, among other activities. Cal. Code Regs.,
             tit 11, § 4285. Residents may also purchase both firearms and ammunition in a
             single transaction by passing a firearms background check. Id. § 4284.

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             reflecting that the purchaser may be prohibited from possessing ammunition, a

             Department of Justice analyst separately reviews the purchaser’s information to

             confirm that the purchaser is prohibited. Id. If the database search does not result

             in a hit, then the transaction is automatically approved, and the vendor may

             proceed with the sale. Id. On average, a Basic Check takes five to six days to

             process. 3-ER-417–418.

                  The Standard Check currently costs $1, and provides a streamlined option for

             purchasers who have an up-to-date entry in the Department of Justice’s Automated

             Firearms System (AFS), which maintains certain firearms ownership records. Cal.

             Penal Code § 30370(a)(1); Cal. Code Regs., tit 11, § 4282(b). Residents who own

             firearms that have not been included in the AFS can create an entry by submitting a

             Firearms Ownership Report to the Department of Justice. 4-ER-619. Because the

             Standard Check requires the system to query fewer databases to establish the

             purchaser’s eligibility, and does not require any manual record review, it can be

             processed in a matter of minutes. See 3-ER-410. Like the Basic Check, a Standard

             Check authorizes a single transaction, for any quantity of ammunition.

                  Under either background check, purchasers who are determined to be

             prohibited from possessing ammunition are notified by letter, which includes

             information about how they may contest that designation. 3-ER-543–544; see 3-

             ER-547; 3-ER-549 (sample letters). Purchasers may also be “rejected” from the


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             Standard Check, meaning that their name, address, date of birth, or ID number

             does not match a current AFS entry. 3-ER-412. Purchasers may obtain

             information about the rejection through the Department’s website, and may also

             update their AFS records online so that they may use Standard Checks in the

             future. See California Department of Justice, Frequently Asked Questions:

             Ammunition Purchases, https://tinyurl.com/yt9vhx4p. Alternatively, purchasers

             rejected from the Standard Check may buy ammunition by passing a Basic Check.

                  Proposition 63 also established several requirements designed to prevent

             individuals from circumventing the background check requirement. California

             Penal Code Section 30312 requires licensed vendors to process all ammunition

             transfers in “a face-to-face transaction.” Cal. Penal Code § 30312(b). Firearm

             owners may still purchase ammunition “over the Internet or through other means

             of remote ordering,” but the ammunition must be processed by a licensed vendor

             for delivery in a face-to-face transaction, rather than direct delivery to the

             purchaser’s residence. Id. Similarly, Section 30314 requires residents who

             purchased ammunition in other States to first deliver the ammunition to a licensed

             vendor for processing before bringing it into the State. Id. § 30314(a). Vendors

             may charge purchasers an administrative fee to defray the costs of processing such

             ammunition. Id. § 30312(a)(2); see Cal. Code Regs. tit 11, § 4263(a).




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                    In the first six months of 2023, 99.2 percent of all ammunition eligibility

             checks were Standard Checks. 3-ER-409. More than 99 percent of all ammunition

             background checks were completed in less than one minute, and more than 88

             percent were approved in less than one minute. 3-ER-411. Approximately 11

             percent of purchasers who requested a Standard Check were rejected. Of those

             purchasers, over 60 percent successfully purchased ammunition within the same

             six-month period. See 3-ER-415. Since the ammunition background check

             requirements took effect in 2019, they have prevented hundreds of prohibited

             persons from purchasing ammunition. See 3-ER-422; 3-ER-430; 4-ER-579; 4-ER-

             583.

                    B.   Procedural History

                         1.   Pre-Bruen proceedings

                    Plaintiffs are California residents, out-of-state ammunition vendors, and an

             association of California firearm owners. 4-ER-649–656. They assert that

             California’s ammunition background check requirements violate the Second

             Amendment individually and because of their cumulative effect. Those provisions

             include: the requirement to perform a background check, Cal. Penal Code

             § 30370; requirement that all ammunition sales be conducted in face-to-face

             transactions, id. § 30312; prohibition on importing ammunition acquired out-of-

             state without first delivering the ammunition to a licensed vendor for processing


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             and a face-to-face delivery, id. § 30314; recordkeeping and reporting requirements

             imposed on licensed vendors, id. § 30352; and authorization of licensed vendors to

             charge a fee to store ammunition, Cal. Code Regs, tit. 11, § 4263(a). See 4-ER-

             670–674.4 Plaintiffs also allege that the face-to-face transaction requirement

             codified in California Penal Code Sections 30312 and 30314 violates the dormant

             Commerce Clause and that Section 30314 is also preempted by 18 U.S.C. § 926A.

             4-ER-668–670; 4-ER-676. They requested a declaration that the requirements are

             unlawful, and a permanent injunction barring their enforcement.

                  The district court preliminarily enjoined the challenged provisions. Rhode v.

             Becerra, 445 F. Supp. 3d 902 (S.D. Cal. 2020). The court concluded that the

             ammunition background check requirements likely violate the Second

             Amendment, and that plaintiffs were also likely to succeed on their dormant

             Commerce Clause claims. Id. at 948, 953. The Attorney General appealed, and a

             divided panel of this Court granted a stay pending appeal. No. 20-55437, C.A.

             Dkts. 4, 13. 5




             4
              This brief refers to the regulations collectively as the “ammunition background
             check requirements.”
             5
              Unless otherwise specified, “Dkt.” refers to the district court docket below in No.
             3:18-cv-00802, and “C.A. Dkt.” refers to the docket in this Court in No. 24-542.
             Pincites are to the pagination included in the ECF header for the docket entry.

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                        2.   Post-Bruen proceedings

                  While the appeal was pending, the Supreme Court issued New York State

             Rifle & Pistol Ass’n v. Bruen, 597 U.S. 1 (2022). Bruen announced a

             constitutional framework for evaluating Second Amendment claims that is

             “centered on constitutional text and history.” Id. at 22. Under Bruen, the initial

             inquiry is whether “the Second Amendment’s plain text covers an individual’s

             conduct.” Id. at 17. If so, “the Constitution presumptively protects that conduct,”

             and “the government must then justify its regulation by demonstrating that it is

             consistent with the Nation’s historical tradition of firearm regulation.” Id. at 24.

                  Following Bruen, this Court vacated the district court’s preliminary injunction

             in its entirety and remanded for further proceedings. No. 20-55437, C.A. Dkt. 110.

             On remand, the district court consolidated a hearing in this matter with hearings in

             three other matters involving Second Amendment challenges to California’s

             firearms and ammunition regulations. See Dkts. 77, 78. 6 The district court ordered

             the parties across all matters to submit additional briefing relevant to Bruen’s

             standards. See 4-ER-693–694.

                  The district court then set a new hearing on plaintiffs’ motion for a

             preliminary injunction. 3-ER-503. The court stated that it intended to consolidate



             6
              The other three matters are also currently pending on appeal. See Miller v. Bonta,
             No. 23-2979; Duncan v. Bonta, No. 23-55805; Fouts v. Bonta, No. 24-1039.

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             the hearing with a trial on the merits, but also ordered the parties to be prepared to

             address “[w]hether additional discovery is necessary, and if so, the specific

             discovery needed.” 3-ER-504. At the hearing, the district court reiterated that it

             was “considering dealing with this case in one fell swoop, that is, doing [the]

             preliminary injunction order along with [a] trial on the merits or using a summary

             judgment procedure,” but ultimately allowed the parties to engage in discovery,

             and to file additional declarations. Dkt. 91 at 2-3; see 4-ER-694–695 (July 17,

             2023 minute entry). The parties then submitted final briefs summarizing their legal

             contentions, and each side requested that the court enter judgment in their

             respective favor. Dkt. 103 at 33; Dkt. 104 at 26.

                  In January 2024, the district court permanently enjoined the ammunition

             background check requirements. 1-ER-3–34. As to Bruen’s threshold inquiry, the

             district court reasoned that “acquiring ammunition is conduct covered by the plain

             text of the Second Amendment.” 1-ER-10. The court acknowledged that Heller

             had recognized certain measures to be presumptively lawful, including “conditions

             and qualifications on the commercial sale of arms,” see 554 U.S. at 627, but

             concluded that “ammunition regulations are not among them.” 1-ER-13. The

             court alternatively held that any applicable presumption had been rebutted, because

             the 11 percent rate of Standard Check rejections demonstrated that the ammunition

             background check requirements had been put to “abusive ends.” 1-ER-18; see 1-


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             ER-14–18. With respect to Bruen’s historical inquiry, the district court concluded

             that the State had failed to identify sufficient historical analogues to the challenged

             provisions, and concluded that they “have no historical pedigree.” 1-ER-33.

                  Turning to plaintiffs’ dormant Commerce Clause claim, the district court held

             that the requirement to transfer ammunition in a face-to-face transaction

             constituted “purposeful discrimination” against out-of-state ammunition vendors.

             1-ER-30; see Cal. Penal Code §§ 30312, 30314. Finally, the court held that

             California Penal Code Section 30314 was preempted by 18 U.S.C. § 926A, a

             federal statute that provides a safe harbor for the interstate transportation of certain

             firearms. The court reasoned that California’s requirement that residents bring

             ammunition obtained out of the State to licensed vendors for processing

             “conflict[s] with and stand[s] as an obstacle to” the purposes of the safe harbor,

             “which include the free transport of firearms and ammunition across state lines.”

             1-ER-30–31.

                  The Attorney General appealed and sought a stay pending appeal in this

             Court. A motions panel of this Court granted a stay. C.A. Dkt. 8.




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                                    SUMMARY OF THE ARGUMENT

                  The threshold inquiry under New York State Rifle & Pistol Ass’n v. Bruen,

             597 U.S. 1 (2022) is whether plaintiffs have carried their burden to establish that

             the Second Amendment protects their proposed course of conduct. Plaintiffs do

             not dispute the principle that certain individuals are legally ineligible to purchase

             ammunition. But plaintiffs claim a Second Amendment right to purchase

             ammunition without first submitting to California’s background check

             requirements. That claim is untenable. The Second Amendment does not give

             plaintiffs a right to purchase ammunition without administrative checks to guard

             against the acquisition of ammunition by prohibited persons. The Supreme Court

             has endorsed background checks as a condition for public carry licenses, and there

             is no reason to apply a different rule for ammunition transactions. And while the

             Supreme Court did not “rule out” that “lengthy” processing times or “exorbitant”

             fees might in certain circumstances amount to the denial of a Second Amendment

             right, the record does not support the district court’s view that California’s

             ammunition background checks present constitutional concerns.

                  Although this Court does not need to go any further to reverse the district

             court, this Nation’s historical tradition also demonstrates that the ammunition

             background check requirements are constitutional. Throughout history,

             legislatures have disarmed certain classes of individuals who would present a


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             danger to themselves and the community if allowed to possess firearms or

             ammunition. Background checks are “relevantly similar” to other historical

             screening mechanisms, including founding-era oaths used to enforce disarmament

             requirements, and Reconstruction-era licensing requirements for firearms and other

             deadly weapons. In addition, the related requirements that the State uses to ensure

             an effective background check system—including vendor licensing and

             recordkeeping requirements—are all longstanding features of firearms regulation.

                  Plaintiffs’ dormant Commerce Clause claim also fails. The core concern of

             that doctrine is to prohibit protectionist measures that benefit in-state economic

             interests by discriminating against out-of-state competitors. But California’s

             requirements apply evenhandedly. All vendors, regardless of location, may sell

             ammunition remotely to consumers, so long as the final delivery occurs through a

             licensed ammunition vendor in a face-to-face transaction, following a background

             check. Plaintiffs also have not met their burden of demonstrating that those

             requirements substantially burden interstate commerce, and there is therefore no

             need to conduct the balancing inquiry set out in Pike v. Bruce Church, Inc., 397

             U.S. 137 (1970). Even if the Court were to conduct that inquiry, plaintiffs have not

             shown that any burden on interstate commerce is “clearly excessive” in relation to

             the benefits of the challenged provisions. South Dakota v. Wayfair, Inc., 585 U.S.

             162, 173 (2018).


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                  Finally, federal law does not preempt California Penal Code Section 30314,

             which requires residents to deliver ammunition purchased from other States to a

             licensed vendor within California for processing and a background check.

             Plaintiffs contend that the statute is preempted by a federal law that provides a

             limited safe harbor for the interstate transportation of firearms. 18 U.S.C. § 926A.

             The safe harbor does not apply to ammunition. Even if it did, the safe harbor

             incorporates—rather than displaces—the legal requirements of the destination

             State. There is no indication, either in the statutory text or legislative history, that

             Congress intended the statute to broadly preempt state and local regulation of

             firearms and ammunition.

                                          STANDARD OF REVIEW

                  The Attorney General appealed after the district court granted summary

             judgment to plaintiffs. While the parties did not formally style their submissions

             as summary judgment briefs, both sides requested judgment as a matter of law

             based on their post-Bruen briefing and the state of the evidentiary record following

             discovery. Dkt. 103 at 33; Dkt. 104 at 26. The district court then entered

             judgment in plaintiffs’ favor on all claims, without holding an evidentiary hearing

             or conducting a trial. This Court reviews “the legal conclusions supporting

             declaratory judgments and permanent injunctions granted at summary judgment de




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             novo.” City & Cnty. of San Francisco v. Garland, 42 F.4th 1078, 1084 (9th Cir.

             2022).

                                               ARGUMENT

             I.   CALIFORNIA’S AMMUNITION BACKGROUND CHECK REQUIREMENTS
                  COMPORT WITH THE SECOND AMENDMENT

                  The Second Amendment codifies a right that, “like most rights, . . . is not

             unlimited.’” New York State Rifle & Pistol Ass’n v. Bruen, 597 U.S. 1, 21 (2022)

             (quoting District of Columbia v. Heller, 554 U.S. 570, 626 (2008)); see also

             McDonald v. City of Chicago, 561 U.S. 742, 789 (2010). The Supreme Court has

             described the right as belonging only to “law-abiding, responsible citizens.”

             Heller, 554 U.S. at 635. Bruen reiterated that limitation numerous times in

             describing the Second Amendment’s scope. See Bruen, 597 U.S. at 9, 15, 26, 29-

             31, 34, 38, 60, 70-71, & nn.8-9. The Court has also emphasized that governments

             may “impos[e] conditions and qualifications on the commercial sale of arms.”

             Heller, 554 U.S. at 626-627. Applying those principles and Bruen’s framework,

             California’s ammunition background check requirements comport with the Second

             Amendment.

                  A.    Plaintiffs Have Not Established That the Ammunition
                        Background Check Requirements Regulate Conduct
                        Presumptively Protected by the Second Amendment

                  The threshold question under Bruen is whether plaintiffs have carried their

             burden of establishing that “the Constitution presumptively protects” their

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             proposed course of conduct. Bruen, 597 U.S. at 24; cf. Schaffer ex rel. Schaffer v.

             Weast, 546 U.S. 49, 57 (2005). To answer that question, courts must consider

             whether the “Second Amendment’s plain text covers [the] conduct,” in light of

             “the normal and ordinary meaning of the Second Amendment” as well as its

             “historical background.” Bruen, 597 U.S. at 20, 24 (internal quotation marks

             omitted).

                  While the plain text of the Second Amendment does not explicitly refer to

             ammunition, that does not end the matter. This Court has held that the Second

             Amendment protects “ancillary rights necessary to the realization of the core right

             to possess a firearm for self-defense.” Teixeira v. Cnty. of Alameda, 873 F.3d 670,

             677 (9th Cir. 2017) (en banc). For instance, “‘the right to possess firearms for

             protection implies a corresponding right’ to obtain the bullets necessary to use

             them.” Jackson v. City & Cnty. of San Francisco, 746 F.3d 953, 967 (9th Cir.

             2014), abrogated on other grounds by Bruen, 597 U.S. 1.

                  Plaintiffs do not dispute that California may prohibit certain individuals from

             possessing ammunition consistent with the Second Amendment. They instead

             allege that the requirement to submit to a background check, and the channeling of

             ammunition sales through licensed vendors for face-to-face transactions, impose

             burdens that infringe their constitutional rights. For instance, plaintiffs allege that

             they would have ammunition shipped directly to their homes but for California’s


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             face-to-face transaction requirement. See, e.g., 4-ER-650 (“But for [the challenged

             provisions], Plaintiff Rhode would immediately resume receiving ammunition via

             direct shipments to her home”); 4-ER-653 (Plaintiff Welvang “would immediately

             purchase, and continue to purchase, ammunition for self-defense and other lawful

             purposes via direct shipment to her home from out of state ammunition vendors or

             through brick and mortar retail stores in California and other states”). The Second

             Amendment does not confer any such right.

                        1.   The ammunition background check requirements are
                             presumptively lawful
                  Plaintiffs cannot show that the Constitution presumptively protects a right to

             purchase ammunition without complying with any background check

             requirements. Indeed, those requirements fall within a class of regulations that the

             Supreme Court has declared to be presumptively lawful. 7 In Heller, the Court


             7
               A recent decision issued by a three-judge panel of this Court held that “‘[s]imply
             repeat[ing] Heller’s language’ about the ‘presumptive[] lawful[ness]’ of felon
             firearm bans will no longer do after Bruen.” See United States v. Duarte, ___F.4th
             ____, 2024 WL 2068016, at *7 (9th Cir. May 9, 2024) (internal quotation marks
             omitted). Rather, the decision states that courts must assess whether “any
             regulation infringing on Second Amendment rights . . . is consistent with this
             nation’s historical tradition of firearm regulation.” Id. But Duarte involved only
             prohibitions on the possession of firearms by felons, an issue that is not presented
             in this case, and the Court did not address the constitutionality of licensing or
             background check laws. Moreover, the United States recently filed a petition for
             rehearing en banc in Duarte and asked for “expedite[d] consideration,” No. 22-
             50048, C.A. Dkt. 72 at 7; the response to that petition is currently due by May 30,
             2024. C.A. Dkt. 73. To the extent this Court views Duarte as controlling the


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             identified a non-exhaustive list of regulations, including “longstanding prohibitions

             on the possession of firearms by felons and the mentally ill,” and “conditions and

             qualifications on the commercial sale of arms,” which comport with the Second

             Amendment. 554 U.S. at 626-627 & n.6; see also Bruen, 597 U.S. at 70

             (reaffirming that the Second Amendment right is “subject to certain reasonable,

             well-defined restrictions”). Accordingly, “[t]o determine whether a challenged law

             falls outside the historical scope of the Second Amendment,” this Court must “ask

             whether the regulation is one of the ‘presumptively lawful regulatory measures’

             identified in Heller.” Jackson, 746 F.3d at 960; see Silvester v. Harris, 843 F.3d

             816, 829 (9th Cir. 2016), abrogated on other grounds by Bruen, 597 U.S. 1

             (Thomas, C.J., concurring) (10-day waiting period after firearms purchase set

             presumptively lawful condition); Teixeira, 873 F.3d at 690 (Owens, J., concurring)

             (zoning requirements for firearms dealers set presumptively lawful conditions).

                  Consistent with this understanding of the Second Amendment’s scope, the

             Supreme Court has also endorsed the use of “background check[s]” and other

             measures that are “designed to ensure only that those bearing arms in the

             jurisdiction are, in fact, ‘law-abiding, responsible citizens.’” Bruen, 597 U.S. at 38



             analytical framework for assessing the constitutionality of background checks at
             the time it considers this appeal, the Attorney General preserves this argument for
             potential future review.


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             n.9. Bruen considered New York’s licensing requirement for the public carry of

             firearms. Id. at 13-14. The Court invalidated one aspect of New York’s scheme—

             the requirement that an applicant demonstrate a “special need for self-defense” to

             obtain a license, which prevented “law-abiding citizens with ordinary self-defense

             needs” from exercising their right to public carry. Id. at 11, 60; see id. at 76 (Alito,

             J., concurring) (noting that this requirement made it “virtually impossible for most

             New Yorkers” to carry firearms in public). The Court contrasted that requirement

             with “shall-issue” licensing regimes, which require applicants to “undergo a

             background check or pass a firearms safety course” to obtain a license. Bruen, 597

             U.S. at 38 n.9. Without performing any historical analysis, the Court explained

             that such requirements are consistent with the Second Amendment, because “they

             do not necessarily prevent law-abiding, responsible citizens from exercising their

             Second Amendment right to public carry.” Id. (internal quotation marks omitted);

             see also id. at 80 (Kavanaugh, J., concurring) (shall-issue regimes “may require . . .

             a background check” and states employing such laws “may continue to do so”).

             Courts have understood Bruen and Heller to indicate that “background checks . . .

             are presumptively constitutional.” McRorey v. Garland, 99 F.4th 831, 836 (5th

             Cir. 2024); see also Vincent v. Garland, 80 F.4th 1197, 1201-1202 (10th Cir.

             2023); Atkinson v. Garland, 70 F.4th 1018, 1022 (7th Cir. 2023).




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                  Those principles, taken together, establish that California’s ammunition

             background check requirements are also presumptively constitutional. The core

             requirement of the challenged laws is to require licensed vendors to perform

             background checks before transferring ammunition. Cal. Penal Code § 30370; see

             supra pp. 6-9. In addition, the challenged laws channel ammunition transfers

             through licensed vendors, and require those vendors to hand over ammunition in

             face-to-face transactions. Cal. Penal Code §§ 30312, 30314, 30370. Such

             requirements “backstop[]” the background check scheme “by ensuring that

             individuals can’t dodge their home-state’s . . . requirements simply by obtaining

             [ammunition] from out of state,” or through remote ordering. United States v.

             Libertad, 681 F. Supp. 3d 102, 112 (S.D.N.Y. 2023) (upholding federal criminal

             prohibition on interstate transfers of firearms by unlicensed parties). Like the

             firearms background checks endorsed in Bruen, California’s ammunition

             background check requirements do not operate on their face to prevent any person

             from keeping or bearing arms, but set conditions on ammunition transactions to

             “ensure only that those” purchasing ammunition are “in fact, ‘law-abiding,

             responsible, citizens.’” Bruen, 597 U.S. at 38 n.9. And because the remaining

             recordkeeping and fee requirements likewise impose only related conditions on

             ammunition transactions, they also do not regulate conduct presumptively

             protected by the Second Amendment.


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                  The district court distinguished the ammunition background check

             requirements from the regulations endorsed in Heller, reasoning that “[w]hatever

             firearm regulations may be thought of as presumptively lawful under Heller,

             ammunition regulations are not among them.” 1-ER-13. The court relied on

             Jackson’s statement that “Heller does not include ammunition regulations in the

             list of ‘presumptively lawful’ regulations.” Id. (quoting Jackson, 746 F.3d at 968).

             But Jackson could not have superseded Heller’s statement that its list “d[id] not

             purport to be exhaustive.” 554 U.S. at 627 n.26. And Jackson considered a

             different type of regulation altogether: a ban on the sale of a particular type of

             ammunition. 746 F.3d at 962. It did not consider any requirement setting only a

             “condition” on ammunition sales, or a regulation designed to screen out those who

             are not “‘law-abiding, responsible citizens.’” Bruen, 597 U.S. at 38 n.9.

                  The district court did not identify any other reason why the constitutional

             inquiry should differ where a regulation concerns ammunition background checks,

             rather than firearm background checks. Nor is there an evident justification for

             applying a more stringent analysis to regulations addressing ammunition, rather

             than firearms. That result would be anomalous, given that the Second Amendment

             does not explicitly protect ammunition, which instead falls within the Second

             Amendment’s “ancillary” protection for “rights necessary to the realization of the

             core right to possess a firearm for self-defense.” Teixeira, 873 F.3d at 677.


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                        2.   The ammunition background check requirements are not
                             abusive

                  The district court held in the alternative that even if the ammunition

             background check requirements could be considered presumptively lawful, any

             presumption “ha[d] been overcome,” because the system had been “put to abusive

             ends.” 1-ER-18. The court relied on Bruen’s statement that it would not “rule out”

             that an otherwise presumptively lawful regulation might implicate protected

             conduct “where, for example, lengthy wait times . . . or exorbitant fees deny

             ordinary citizens” their Second Amendment rights. 597 U.S. at 38 n.9. But that

             observation could not support the district court’s facial invalidation of California’s

             ammunition background check requirements. See, e.g., id. at 80 (Kavanaugh, J.,

             concurring) (referring to such challenges as “as-applied challenges” for licensing

             regimes that “do[] not operate in [a constitutional] manner in practice”). In any

             event, the record does not reflect that the ammunition background check

             requirements are anywhere near abusive.

                  While the district court gave plaintiffs the opportunity to submit declarations

             describing their alleged injuries with particularity, no plaintiff described the kind

             of oppressive conduct that Bruen suggested might give rise to a constitutional

             claim. See 2-ER-51–98. The record does not reveal any abusive conduct, either.

             The challenged provisions offer two primary mechanisms for satisfying the

             background check requirement, and both allow the purchase of any quantity of

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             ammunition in a single transaction. Neither imposes an exorbitant fee: the Basic

             Check costs $19, and the Standard Check costs $1 under current regulations. Cal.

             Code Regs., tit. 11, §§ 4282(b), 4283(b). Nor do the requirements produce

             unreasonable wait times. The Basic Check can usually be completed within five or

             six days. 3-ER-417, 3-ER-431; cf. McRorey, 99 F.4th at 840 (“[T]here is some

             point at which a background check becomes so lengthy that it is ‘put towards

             abusive ends’ . . . [b]ut a period of 10 days does not qualify.” (internal quotation

             marks omitted)). And firearm owners who wish to purchase ammunition more

             quickly may use the expedited Standard Check, which can be completed within

             minutes. 3-ER-410; 3-ER-422. In the first six months of 2023, the overwhelming

             majority of ammunition background checks conducted were Standard Checks. 3-

             ER-409. Taking all types of background checks into account, over 99 percent of

             all background checks were completed in less than one minute, and over 88

             percent of all purchasers were approved in less than one minute. 3-ER-411.

                  The district court focused narrowly on the rejection rates for Standard

             Checks. See 1-ER-15-16. But those rates do not support a constitutional violation.

             The district court noted that 11 percent of individuals were rejected following a

             Standard Check in the first six months of 2023. 1-ER-15. Of that proportion, 85

             percent were rejected because the purchasers’ name or address did not match a

             current AFS entry, or because the purchaser could not be associated with an AFS


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             entry at all. 3-ER-414. The remaining 15 percent of rejections were due to other

             mismatches. See 3-ER-423–425. But a rejection from the Standard Check is not a

             determination that the purchaser is ineligible to possess ammunition: it only means

             that the purchaser cannot use the expedited process that the State makes available

             for those with up-to-date AFS records. See 3-ER-412. Those who are rejected

             from the Standard Check may alternatively purchase ammunition by requesting

             and passing a Basic Check. They may also continue to use the Standard Check

             after updating their AFS records online; the Department’s website provides

             instructions on how to do so. See California Department of Justice, Automated

             Firearms System Personal Information Update, https://tinyurl.com/2rkss72e.

                  The record reflects that many purchasers who were rejected from the Standard

             Check were able to purchase ammunition at a later date. 3-ER-415. While the

             record is unclear as to why others did not, those rejections could not possibly

             support the court’s holding that the ammunition background check requirements

             facially violate the Second Amendment.

                  B.    California’s Ammunition Background Check Requirements
                        Are Consistent with Historical Tradition
                  Even if this Court were to hold (or assume) that the Second Amendment

             protects a right to purchase ammunition without complying with the State’s

             ammunition background check requirements, those provisions are consistent with

             “the historical tradition that delimits the outer bounds of the right to keep and bear

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             arms.” Bruen, 597 U.S. at 20. As the Supreme Court has recognized, legislatures

             may disarm certain individuals consistent with the Second Amendment. See id. at

             38 n.9; see also United States v. Perez-Garcia, 96 F.4th 1166, 1189 (9th Cir.

             2024); United States v. Daniels, 77 F.4th 337, 353 (5th Cir. 2023); United States v.

             Jackson, 69 F.4th 495, 504 (8th Cir. 2023). That includes, for instance,

             “longstanding prohibitions on the possession of firearms by felons and the

             mentally ill,” Heller, 554 U.S. at 626, and restrictions on noncitizens, 18 U.S.C.

             § 922(g)(5). The challenged provisions are an essential means for the government

             to determine whether an individual falls within such a group. And they are directly

             analogous to the regulatory requirements that legislatures have adopted throughout

             history to ensure that those who obtain firearms and ammunition may lawfully

             possess it.

                  The historical analysis required by Bruen is not meant to impose “a regulatory

             straightjacket.” 597 U.S. at 30. The Second Amendment does not bind

             governments to the same forms of regulations that were adopted in the past, but

             allows “state and local experimentation.” McDonald, 561 U.S. at 785. To ensure

             that flexibility, Bruen does not require the government to identify a “historical

             twin” or a “dead ringer,” but allows the government to justify a regulation by

             establishing that it falls within a historical tradition of regulations that are




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             “relevantly similar,” meaning that they “impose a comparable burden on the right

             of armed self-defense” that is “comparably justified.” 597 U.S. at 29-30.

                        1.   Throughout American history, governments have required
                             individuals to demonstrate eligibility to possess and carry
                             firearms

                  Historical analogues confirm that the challenged provisions comport with the

             Second Amendment. The relevant historical tradition dates back to before the

             founding. At the start of the Revolutionary War, the Continental Congress

             recommended the disarmament of loyalists and those “notoriously disaffected to

             the cause of America.” 4 Journals of the Continental Congress 1774-1789 205

             (Worthington Chauncey Ford ed., 1906); see Perez-Garcia, 96 F.4th at 1186-1189.

             Many colonies followed suit, and enacted disarmament provisions. See, e.g., Act

             of Dec. 1775, The Public Records of the Colony of Connecticut from May, 1775 to

             June, 1776 inclusive 193 (Charles J. Hoadly ed., 1890) (disarming any person

             “duly convicted” of “libel or defam[ation]” of “the resolves of the Honorable

             Congress of the United Colonies, or the acts and proceedings of the General

             Assembly of this Colony”).

                  These disarmament provisions often applied to ammunition as well as

             firearms. For instance, a New Jersey statute authorized officials to seize “all of the

             Arms, Accoutrements, and Ammunition which they own or possess” from

             “Persons as they shall judge disaffected.” Act of Sept. 20, 1777, ch. 40 § 20, Acts


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             of the General Assembly of the State of New Jersey 90 (1777). A Rhode Island law

             authorized confiscation of “all arms, ammunition, and war like stores” from

             loyalists. Act of 1776, 7 Records of the Colony of Rhode Island & Province

             Plantations in New England 567 (Bartlett ed., 1862).

                  To carry out those measures, colonial legislatures also enacted regulatory

             requirements that were designed to determine whether individuals were prohibited

             from possessing arms. In 1777, Pennsylvania required all “male white inhabitants”

             to “take and subscribe” to a loyalty oath before a justice of the peace. Act of June

             13, 1777, ch. 756, 9 The Statutes at Large of Pennsylvania from 1682 to 1801 111

             (1903). The justices were also required to “keep fair registers of the names and

             surnames of the person so sworn or affirmed,” and those who “refus[ed] or

             neglecte[d] to take and subscribe the said oath” were to be “disarmed by the

             lieutenant or sub-lieutenants of the cities or counties respectively.” 9 Statutes at

             Large of Pennsylvania 112-113. Connecticut, Massachusetts, Rhode Island, North

             Carolina, New Jersey, and Virginia all required similar oaths. 8



             8
              Act of Dec. 1775, The Public Records of the Colony of Connecticut from May,
             1775 to June, 1776 inclusive 193; Act of May 1, 1776, ch. 21, §§ 1-2, 5 The Acts
             and Resolves, Public and Private, of the Province of the Massachusetts Bay 479-81
             (1886); Act of 1776, 7 Records of the Colony of Rhode Island & Province
             Plantations in New England 567; Act of 1777, ch. 6, § 9, 24 The State Records of
             North Carolina 89 (Clark ed., 1905); Act of Sept. 20, 1777, ch. 40 § 20, Acts of the
             General Assembly of the State of New Jersey 90; Act of May 1777, ch. 3, 9 The


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                  During Reconstruction, legislatures continued to establish eligibility criteria

             that residents were required to satisfy before they could lawfully keep and bear

             arms. Such criteria included additional loyalty oaths: citizens in the former

             Confederate states were required to take “ironclad” loyalty oaths before they could

             exercise important rights and privileges. See 3-ER-366–370; 3-ER-370 (noting

             that Tennessee “impose[d] ironclad oaths vigorously” and “restrict[ed] . . . gun-

             access generally to those who took the ironclad oath”). The “[n]ames of oath-

             takers were recorded in a log book” that “acted in effect as a database for local law

             enforcement officers of who could be entrusted with the privileges of citizenship,”

             including “the purchase and sale of firearms and ammunition.” 3-ER-372.

                  In addition to loyalty oaths, 19th century legislatures also established

             eligibility criteria targeted at identifying those who were not law-abiding,

             responsible citizens more generally. That development was spurred in part by an

             influx of “cheap, prolific, [and] reliable” handguns, which created new threats to

             public safety. 2-ER-104. By the 1880s, “gunmakers had completed the transition

             from craft to industry,” and the rise of handgun mail-order purchasing “brought

             cheap handguns to buyers’ doors.” Id. Throughout this period, State and local

             legislatures required residents to acquire licenses after satisfying “review criteria as



             Statutes at Large, being a Collection of All the Laws of Virginia from the First
             Session of the Legislature, in the Year 1619 281-283 (Hening ed., 1821).

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             conducted by local officials” before they were entitled to publicly carry deadly

             weapons. 2-ER-110.

                  For instance, an 1876 Hyde Park, Illinois ordinance banned the concealed

             carry of firearms “except by written permission of the Captain of Police.” 2-ER-

             183–184; see also 2-ER-265 (Salt Lake City ordinance declaring the concealed

             carry of deadly weapons unlawful “without the permission of the mayor first had

             and obtained”); 2-ER-209 (similar St. Louis ordinance); see 2-ER-112–120. An

             1881 New York ordinance authorized the issuance of licenses to carry pistols “of

             any description” to residents and non-residents alike, if the individual presented

             himself to a local officer for examination, and the local officer was “satisfied that

             the applicant is a proper and law abiding person.” 2-ER-227–228; see also 2-ER-

             244 (1898 Oregon City ordinance authorizing the mayor to grant permission to

             concealed carry “when upon proper representation . . . it appears to him necessary

             or prudent to grant such permission”). During the same period, many jurisdictions

             also adopted surety laws “that required certain individuals to post bond before

             carrying weapons in public,” as a method of insurance for any ensuing breaches of

             the peace. Bruen, 597 U.S. at 55; see id. at 55-60 & n.23 (collecting examples).

                  In addition to these eligibility criteria, founding and Reconstruction-era

             regulations imposed other conditions on the commercial market for firearms and

             ammunition more generally. See Teixeira, 873 F.3d at 685 (describing colonial-era


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             regulations on the sale and transfer of arms). Such laws included colonial and state

             regulations that required vendors who manufactured or sold gunpowder to obtain a

             license. See, e.g., 2-ER-198 (1651 Massachusetts statute requiring individuals to

             obtain “license . . . from some two of the Magistrates” to export gunpowder out of

             the colony, “upon penalty of forfeiting all such powder”); Act of Dec. 1775, ch.

             526, Public Records of the Colony of Connecticut 191 (prohibiting the export of

             gunpowder manufactured in the colony “without the licence of the General

             Assembly or his Honor the Governor and Committee of Safety”). And as firearms

             became more lethal and widely available towards the end of the 19th century,

             legislatures required commercial firearms sellers to obtain certain identifying

             information from purchasers and to keep records available for inspection. See,

             e.g., 1881 Ill. Laws. 73, 73-74 (requiring “all persons dealing in deadly weapons”

             to “keep a register of all such weapons sold or given away by them”); Act of July

             13, 27 Stat. 116, 116-117 (1892) (federal law requiring firearm sellers in the

             District of Columbia to “keep a written register of the name and residence of every

             purchaser” and make the same available for police inspection); see 2-ER-125–126.

                        2.   The ammunition background check requirements are
                             relevantly similar to that historical tradition of firearms
                             regulation
                  The operative question is whether California’s ammunition background check

             requirements are “relevantly similar” to our Nation’s historical tradition of


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             regulation. Bruen, 591 U.S. at 29. Under this inquiry, the “central considerations”

             are “whether modern and historical regulations impose a comparable burden on the

             right of armed self-defense” and “whether that burden is comparably justified.” Id.

             (internal quotation marks omitted).

                  California’s ammunition background check requirements fit within this

             historical tradition. They impose a minimal burden on lawful purchasers’ right to

             keep and bear arms for lawful self-defense, as they require only minor fees and

             short wait times. Supra pp. 7-8. That burden is no more severe than the burdens

             imposed on lawful purchasers by founding and Reconstruction-era laws. And the

             administrative conditions that California’s laws establish to ensure the effective

             operation of its background check scheme—such as vendor licensing and

             recordkeeping requirements—are similar to other regulatory requirements that

             governments have adopted throughout history. Supra pp. 32-33. Finally, the

             ammunition check requirements are also comparably justified. Similar to their

             historical predecessors, they impose incidental requirements on purchasers and

             vendors in order to prevent prohibited persons from acquiring ammunition. Cf.

             N.Y. State Firearms Ass’n v. James, 2024 WL 1932050, at *6-9 (W.D.N.Y. May 2,

             2024) (holding that New York’s ammunition background check requirements were

             supported by historical tradition).




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                        3.   The district court applied a flawed historical analysis

                  The district court invalidated the ammunition background check requirements

             after applying a fundamentally flawed historical analysis. For instance, while the

             district court recited Bruen’s instruction that the government need not identify “a

             historical twin” or “a dead ringer for historical precursors,” it did not apply that

             guidance. 1-ER-19. The district court acknowledged that “since the Founding,

             some citizens were dangerous and presented a risk of armed violence to others.” 1-

             ER-21. And the court also observed that “[b]ackground checks in some form must

             have been performed in the many nineteenth century cases where licenses were

             required for carrying concealed firearms.” 1-ER-22; see also id. (noting that there

             were “a lot of” nineteenth century firearm licensing schemes). The court

             nonetheless concluded that those precursors could not support California’s

             restrictions, because the Attorney General did not produce an example of a

             “historical law that required a citizen to pass a background check in order to

             purchase ammunition.” 1-ER-21 (emphasis added).

                  As this Court recently explained, Bruen does not require courts to “isolate

             each historical precursor and ask if it differs from the challenged regulation in

             some way.” Perez-Garcia, 96 F.4th at 1191. Rather, a court must “examine the

             historical evidence as a whole” and “determin[e] whether it establishes a tradition

             of permissible regulation . . . and whether the historical precedent and the modern


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             regulation are ‘relevantly similar.’” Id. (quoting Bruen, 597 U.S. at 27). The

             Attorney General presented evidence of a historical tradition of requiring

             individuals to satisfy requirements designed to confirm their legal eligibility to

             possess weapons. While that tradition includes regulations that applied to

             ammunition, see supra pp. 29-30, restrictions that applied exclusively to firearms

             imposed comparable burdens and were supported by comparable justifications, and

             therefore are relevantly similar to California’s ammunition background check

             requirements.

                  The district court’s unduly strict understanding of Bruen led it to overlook

             other evident similarities between historical laws and the challenged provisions.

             For instance, the district court set aside founding-era disarmament laws because

             they “served to distinguish among the people within a new state” and “those who

             still considered themselves subjects of King George with no interest in becoming

             new citizens.” 1-ER-27. Because “individuals who refused to pledge their

             allegiance were considered non-citizens,” they were not entitled to the “rights and

             privileges” of citizenship, including the right to keep and bear arms. Id. That

             analysis misses the point. What matters is that at the founding, the early States

             believed they retained authority to subject all residents—loyal and disloyal—to an

             oath as a condition of possessing firearms and ammunition. The ammunition

             background check requirements operate in a similar manner: they require all


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             purchasers to submit to background checks to confirm that they are part of the

             “law-abiding, responsible” populace that is entitled under the Constitution to keep

             firearms and ammunition for lawful self-defense. Bruen, 597 U.S. at 26.

                  The court also discounted laws enacted after the ratification of the Fourteenth

             Amendment in 1868, including the licensing requirements for firearms and deadly

             weapons (see supra pp. 31-32) as too late to shed light on the Second

             Amendment’s scope. See 1-ER-19–20. That ignores Bruen’s teaching that post-

             ratification evidence can “settle the meaning” of the Constitution. Bruen, 597 U.S.

             at 36 (internal quotation marks omitted); Heller, 554 U.S. at 605 (explaining that

             inquiry into post-ratification evidence “is a critical tool of constitutional

             interpretation”). Just as it is “implausible that the public understanding” of the

             right to keep and bear arms “would arise” only in 1791, it is equally “implausible”

             that it “would promptly dissipate whenever [the founding] era gave way to

             another.” Antonyuk v. Chiumento, 89 F.4th 271, 304 (2d. Cir. 2023).

                  Finally, the district court’s repeated suggestion that a permitting requirement

             would be preferable to a background check requirement for each transaction is

             irrelevant. See 1-ER-6, 1-ER-23, 1-ER-33. If anything, the district court’s belief

             that an ammunition permitting regime would “clearly be a more reasonable

             constitutional approach,” 1-ER-6—but that the challenged ammunition background

             check regime is “an outlier that our ancestors would have never accepted,” 1-ER-


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             28—demonstrates the rigidity of the court’s analysis. By according constitutional

             significance to minor variations in policy, the district court improperly constrained

             the State from regulating firearms and ammunition, and in precisely the way that

             the Supreme Court warned against. See Bruen, 597 U.S. at 30.

             II.   SECTIONS 30312 AND 30314 DO NOT VIOLATE THE DORMANT
                   COMMERCE CLAUSE

                   The district court enjoined enforcement of California Penal Code Sections

             30312 and 30314, which require ammunition transfers in the State to take place in

             face-to-face transactions with licensed vendors. The court concluded that those

             requirements discriminate against out-of-state ammunition vendors in violation of

             the dormant Commerce Clause. The court’s analysis misapplies the law and

             misreads the record.

                   Although the Commerce Clause is a positive grant of power to Congress, it

             has also been recognized “as a self-executing limitation” on the States’ authority to

             discriminate against interstate commerce. Ass’n des Éleveurs de Canards et

             d’Oies du Québec v. Harris, 729 F.3d 937, 947 (9th Cir. 2013). The “dormant”

             Commerce Clause “prohibits the enforcement of state laws driven by economic

             protectionism—that is, regulatory measures designed to benefit in-state economic

             interests by burdening out-of-state competitors.” Nat’l Pork Producers Council v.

             Ross, 598 U.S. 356, 369 (2023) (internal quotation marks and alterations omitted).



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             This “antidiscrimination principle” is “the ‘very core’ of [the Supreme Court’s]

             dormant Commerce Clause jurisprudence.” Id.

                  Given that focus, the first question in addressing any dormant Commerce

             Clause challenge is whether the challenged statute discriminates against out-of-

             state entities in favor of in-state interests. See Int’l Franchise Ass’n, Inc. v. Seattle,

             803 F.3d 389, 399 (9th Cir. 2015). “Preventing state officials from enforcing a

             democratically adopted state law in the name of the dormant Commerce Clause is a

             matter of ‘extreme delicacy,’ something courts should do only ‘where the

             infraction is clear.’” Nat’l Pork, 598 U.S. at 390.

                  A.    The Face-to-Face Transaction Requirement Does Not
                        Discriminate Against Interstate Commerce
                  Plaintiffs’ claim that the challenged provisions impermissibly discriminate

             against out-of-state commerce in violation of the dormant Commerce Clause is

             meritless. A statute that treats in-state and out-of-state entities alike is not

             discriminatory. See Nat’l Ass’n of Optometrists & Opticians LensCrafters, Inc. v.

             Brown, 567 F.3d 521, 525 (9th Cir. 2009). The challenged laws require all

             ammunition transfers to a transferee in California to be processed in a face-to-face

             transaction following a background check, regardless of the vendors’ location.

             Cal. Penal Code § 30312(b). Out-of-state vendors may still sell ammunition to

             California residents; if they do not have a physical presence and license in

             California, the law requires that they deliver the ammunition to a licensed

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             ammunition vendor for delivery to the transferee in a face-to-face transaction. Id.

             § 30312(a)(2), (b). That is not a special condition that applies only to out-of-state

             vendors. All in-state licensed vendors are required to conduct transactions face-to-

             face. Id. § 30312(b). And like out-of-state vendors, in-state vendors that lack a

             license—including private individuals, businesses that sell fewer than 500 rounds

             of ammunition per month, and those who lack a brick-and-mortar location at which

             to process sales—must also have their ammunition transfers processed through

             licensed vendors. See id. § 30312(a)(2).

                  The district court’s contrary holding misunderstands the face-to-face

             transaction requirement. The court concluded that the challenged laws were

             “much like” the laws considered in Granholm v. Heald, 544 U.S. 460 (2005). 1-

             ER-29. Granholm addressed state laws that authorized “in-state wineries to sell

             wine directly to consumers in th[e] state” but “prohibit[ed] out-of-state wineries

             from doing so.” 544 U.S. at 466. It was “evident that the object and design” of the

             laws at issue was “to grant in-state wineries a competitive advantage over wineries

             located beyond the States’ borders.” Id. The Court concluded that such

             “differential treatment between in-state and out-of-state wineries constitute[d]

             explicit discrimination against interstate commerce.” Id. at 467; see also Dean

             Milk Co. v. Madison, 340 U.S. 349, 352-353 (1951) (invalidating ordinance that




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             prohibited the sale of pasteurized milk within city limits unless it was processed

             within five miles of the city center).

                  But unlike the laws at issue in Granholm, California law imposes uniform

             requirements on in-state and out-of-state vendors. Under Section 30312(b), no

             vendor anywhere in the United States, whether in or out of California, may ship

             ammunition directly to the consumer, because all transfers must take place in face-

             to-face transactions with licensed vendors. And because California law offers a

             mechanism for all unlicensed vendors (including out-of-state vendors) to satisfy

             that requirement—delivery to a licensed vendor for processing—there is no

             differential treatment that would implicate the dormant Commerce Clause. This

             Court upheld a similar regulatory requirement in Black Star Farms LLC v. Oliver,

             600 F.3d 1225, 1234-1235 (9th Cir. 2010). That case considered an Arizona law

             that authorized direct shipments of wine to Arizona residents “only if the consumer

             is physically present at the winery when he buys the wine.” Id. at 1228. The Court

             upheld the law, explaining that States may “limit direct shipment[s]” consistent

             with Granholm, “so long as the limitations treat in-state and out-of-state wineries

             in the same manner.” Id. at 1234. The court concluded that Arizona’s law was

             constitutional because it “treat[ed] in-state and out-of-state wineries the same” and

             did not impose any “differential treatment.” Id. The same is true here.




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                  B.    The Face-to-Face Transaction Requirement Should Be Upheld
                        Under Pike

                  Plaintiffs argued below that the face-to-face transaction requirement failed the

             balancing framework set out in Pike v. Bruce Church, Inc., 397 U.S. 137 (1970).

             The district court concluded that plaintiffs were likely to succeed as to that claim in

             its preliminary injunction order, and incorporated that analysis into its final

             judgment. See 1-ER-29 (“readopt[ting]” reasoning “set out more fully” in Rhode,

             445 F. Supp. 3d at 948-953).

                  Under Pike, “[s]tate laws that ‘regulat[e] even-handedly to effectuate a

             legitimate local public interest . . . will be upheld unless the burden imposed on

             such commerce is clearly excessive in relation to the putative local benefits.’”

             South Dakota v. Wayfair, Inc., 585 U.S. 162, 172 (2018). In National Pork, the

             Supreme Court emphasized that “‘no clear line’ separates the Pike line of cases

             from [the Court’s] core antidiscrimination precedents.” 598 U.S. at 377. The Pike

             inquiry examines whether a law’s practical effects “disclose the presence of a

             discriminatory purpose.” Id. In this manner, a Pike analysis can “smoke out . . .

             hidden protectionism” that may not be evident on a law’s face. Id. at 379 (internal

             quotation marks omitted); see also id. at 393 (Barrett, J., concurring in part).

                  While the five justices in the National Pork majority did not agree on a single

             approach to Pike claims “premised on . . . nondiscriminatory burdens,” 598 U.S. at

             379 (internal quotation marks omitted), all agreed that such challenges face a high

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             bar, and should rarely succeed. A Pike claim proceeds in two steps. First,

             plaintiffs must establish that the law at issue causes a “substantial burden” on

             interstate commerce, which is “[a] critical requirement for proving a violation of

             the dormant Commerce Clause.” Nat’l Ass’n of Optometrists & Opticians, 682

             F.3d at 1148. If that requirement is satisfied, courts proceed to the second step,

             and evaluate whether the burden is “clearly excessive” in relation to the law’s local

             benefits. Wayfair, 585 U.S. at 173. 9 The Supreme Court has not invalidated a law

             through Pike balancing in over 30 years. See Truesdell v. Friedlander, 80 F.4th

             762, 773 (6th Cir. 2023).

                  1. In this case, there is no need to conduct Pike balancing, because plaintiffs

             have not shown that the challenged statutes impose a “substantial burden” on

             interstate commerce. Plaintiffs argued before the district court that California’s in-

             state purchasing requirements “preclude out-of-state vendors . . . from accessing

             California’s ammunition market” unless they “obtain the consent of their

             California-based competitors,” and “are willing to pay the price their in-state

             competitors have complete discretion to set.” Dkt. 104 at 23.



             9
               National Pork did not disturb this Circuit’s longstanding two-step framework for
             Pike claims. Of the five justices in the majority, four ultimately applied a standard
             that is identical in all material respects to the standard applied by this Court. See
             id. at 383-385 (plurality opinion). Three of those five would have gone even
             further, barring Pike claims altogether when the benefits and burdens of a
             challenged law are “incommensurable.” Id. at 382.

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                  This Court has concluded that allegations of far more burdensome effects did

             not establish a cognizable burden under Pike. For instance, National Pork

             considered allegations that “producers w[ould] have to expend millions in upfront

             capital costs and adopt a labor-intensive method of production,” or risk “los[ing]

             business with packers that are supplying the California market.” Nat’l Pork

             Producers Council v. Ross, 6 F.4th 1021, 1033 (9th Cir. 2021). Both this Court

             and a plurality of the Supreme Court rejected those allegations as insufficient to

             establish a substantial burden. See id. at 1032-1033; 598 U.S. at 383-387. Those

             respective analyses demonstrate the heavy burden that a plaintiff must satisfy

             before Pike balancing is necessary. See Truesdell, 80 F.4th at 776 (“If the

             allegations in National Pork Producers did not show a substantial burden, then, the

             evidence in this case cannot either.”).

                  In any event, neither of plaintiffs’ claimed burdens is supported by the record.

             Plaintiffs have not shown that out-of-state vendors have been unable to obtain the

             consent of in-state vendors to process their transactions; indeed, both out-of-state

             vendor plaintiffs acknowledge that they continued to sell ammunition to California

             customers in the months directly after the background check requirement took

             effect, although in lower numbers. See 2-ER-65; 2-ER-67. And there is no truth to

             plaintiffs’ argument below that California law gives in-state licensed vendors

             complete discretion to set fees. Section 30312(a)(2) authorizes licensed vendors to


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             charge the purchaser an “administrative fee . . . in an amount to be set by the

             Department of Justice” for processing those transactions. Cal. Penal Code

             § 30312(a)(2). That fee “shall not exceed five dollars” if the purchaser is present

             for immediate delivery of the ammunition. Cal. Code Regs. tit 11, § 4263(a). If

             the purchaser is not immediately available, the vendor may charge “an additional

             storage fee as agreed upon with the purchaser prior to the vendor receiving the

             ammunition.” Id.

                  At most, the evidence suggests that out-of-state vendors—like the plaintiffs in

             National Pork—have incurred additional expenses by virtue of the face-to-face

             transaction requirement. That does not give rise to a constitutional claim, however,

             because “the dormant Commerce Clause does not protect a particular company’s

             profits.” Nat’l Ass’n of Optometrists & Opticians, 682 F.3d at 1153 n.11 (citing

             Exxon Corp. v. Governor of Maryland, 427 U.S. 117, 127 (1978)).

                  2. Because plaintiffs did not establish a substantial burden on interstate

             commerce, there is no need for this Court to conduct any judicial balancing. See,

             e.g., Nat’l Ass’n of Optometrists & Opticians, 682 F.3d at 1156. But even if this

             Court were to consider whether the face-to-face transaction requirement is “clearly

             excessive” in relation to its benefits, Wayfair, 585 U.S. at 173, the challenged

             provisions should be upheld.




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                  Plaintiffs also face a heavy burden at second stage of the Pike inquiry. A

             law’s burdens are clearly excessive under Pike only if they “so outweigh the

             putative benefits as to make the statute unreasonable or irrational.” UFO Chuting

             of Haw., Inc. v. Smith, 508 F.3d 1189, 1196 (9th Cir. 2007) (internal quotation

             marks omitted). And in conducting that inquiry, courts may not “second-guess the

             empirical judgments of lawmakers concerning the utility of legislation.” CTS

             Corp. v. Dynamics Corp. of Am., 481 U.S. 69, 92 (1987) (citation omitted).

                  Plaintiffs cannot meet that burden. The challenged provisions are part of a

             comprehensive ammunition background check system, which seeks to prevent

             ammunition from being transferred to those who are prohibited from possessing it.

             See Prop. 63 § 2(7). The public safety concerns that motivated the State’s adoption

             of that system are unquestionably legitimate. See Rhode, 445 F. Supp. 3d at 935

             (district court’s acknowledgement that “[f]ew would dispute that the state has a

             legitimate interest in increasing public safety and preventing crime”). The face-to-

             face transaction requirement is an essential part of the ammunition background

             check regime: it imposes a condition on all transactions to ensure that background

             checks are conducted by licensed vendors who are able to visually confirm the

             purchaser’s identity. Plaintiffs have not shown that those benefits “relate to goals

             that evidence an impermissible favoritism of in-state industry” or that they are

             “illusory.” Chuting, 508 F.3d at 1196. And while Pike’s inquiry considers a


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             regulation’s “putative local benefits” and not its “actual benefits,” see Nat’l Ass’n

             of Optometrists & Opticians, 682 F.3d at 1155, the record reflects that the

             ammunition background check requirements have prevented hundreds of

             prohibited persons from acquiring ammunition since they took effect, and likely

             have deterred many more. See 3-ER-422; 3-ER-430; 4-ER-579; 4-ER-583.

             III. SECTION 30314 IS NOT PREEMPTED BY FEDERAL LAW

                   The district court also held that the federal Firearm Owners’ Protection Act,

             18 U.S.C. § 926A, preempts Section 30314’s requirement that California residents

             bring ammunition acquired outside of the State to licensed vendors for processing.

             1-ER-30–33; see Cal. Penal Code § 30314. Congressional intent is “‘the ultimate

             touchstone’ in every pre-emption case.” Altria Grp., Inc. v. Good, 555 U.S. 70, 76

             (2008) (quoting Medtronic, Inc. v. Lohr, 518 U.S. 470, 485 (1996)). And here,

             statutory text and legislative history provide no indication that Congress intended

             to give section 926A the broad preemptive effect that the district court ascribed to

             it.

                   Section 926A provides that “any person who is not otherwise prohibited by

             this chapter from transporting, shipping, or receiving a firearm” may “transport a

             firearm for any lawful purpose from any place where he may lawfully possess and

             carry such firearm to any other place where he may lawfully possess and carry

             such firearm.” 18 U.S.C. § 926A. Firearms must be kept unloaded during travel,


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             and “neither the firearm nor any ammunition being transported” may be kept

             “readily accessible . . . from the passenger compartment of such transporting

             vehicle.” Id. Section 926A further requires “[t]hat in the case of a vehicle without

             a compartment separate from the driver’s compartment the firearm or ammunition

             shall be contained in a locked container other than the glove compartment or

             console.” Id. The statute is governed by a savings clause, which directs that state

             laws are preempted only if they present a “direct and positive conflict” with federal

             law. 18 U.S.C. § 927.

                  As an initial matter, Section 926A does not provide a safe harbor for the

             transportation of ammunition. The plain text of the safe harbor only authorizes the

             interstate transportation of firearms. 18 U.S.C. § 926A; see 18 U.S.C. § 921(a)(3),

             (a)(17)(A) (defining “firearm” and “ammunition” separately). The district court

             based its preemption holding on a clause in Section 926A that imposes storage

             requirements for “any ammunition being transported” with a firearm. 18 U.S.C.

             § 926A. But that language only describes a necessary condition for the safe harbor

             to apply, which prevents the firearm from being readily used during travel. It does

             not extend the safe harbor to include the transportation of ammunition. See 132

             Cong. Rec. H4102-03 (1986) (noting that Section 926A was designed “to protect

             law enforcement officers who may be making traffic stops by requiring that the




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             weapon be unloaded and clarifying that it not be readily accessible” (statement of

             Rep. Hughes)).

                  Even assuming that Section 926A covers ammunition, it still would not

             conflict with Section 30314. Section 926A does not authorize unfettered

             transportation of ammunition across state lines. It only authorizes transportation

             between States where the traveler “may lawfully possess and carry” the firearm (or

             ammunition). 18 U.S.C. § 926A. The district court identified a conflict on the

             theory that “[w]hen a law-abiding California resident buys ammunition outside of

             the state and brings it back into California” without first delivering it to a licensed

             vendor, “[California Penal Code Section 30314] prohibits the conduct,” even if the

             resident had complied with Section 926A’s storage requirements. 1-ER-31–32.

             But because California residents may not “lawfully possess” ammunition that has

             not been processed through a licensed vendor for delivery in a face-to-face

             transaction following a background check, Section 926A would not apply by its

             own terms. 18 U.S.C. § 926A. By contrast, if a resident complies with

             California’s in-state processing and face-to-face delivery requirements, he may

             “lawfully possess” that ammunition consistent with the safe harbor.

                  For the same reasons, Section 30314 does not present any obstacle to federal

             objectives. While the relevant statutory text is alone sufficient to reflect

             Congress’s intent, legislative history also confirms that the Section 926A’s drafters


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             intended to preserve the States’ authority to enforce reasonable regulations for their

             residents. See 132 Cong. Rec. H4102-03 (a person is “only entitled to take

             advantage” of the safe harbor if “the possession is lawful where the traveler starts

             and is lawful in the destination State” (statement of Rep. Hughes)); see id. (“The

             safe harbor provision itself does not modify the State or local laws at the place of

             origin or the jurisdiction where the trip ends in any way.” (statement of Rep.

             McCollum)). Consistent with that intent, courts considering similar challenges

             have not interpreted Section 926A to facially invalidate state regulations. See

             Fresno Rifle & Pistol Club, Inc. v. Van de Kamp, 746 F. Supp. 1415, 1427 (E.D.

             Cal. 1990) (California’s ban on the importation of assault weapons was not

             preempted by Section 926A); Coalition of N.J. Sportsmen v. Florio, 744 F. Supp.

             602, 609-610 (D.N.J. 1990) (New Jersey’s regulation of large-capacity magazines

             and assault weapons was not preempted by Section 926A).




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                                              CONCLUSION

                  The judgment of the district court should be reversed, and this Court should

             remand for entry of judgment in favor of the Attorney General.

            Dated: May 24, 2024                         Respectfully submitted,


                                                            /s/ Mica L. Moore

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                                  STATEMENT OF RELATED CASES

                  The Attorney General is not aware of any related cases.

              Dated: May 24, 2024                         /s/ Mica L. Moore




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                                 UNITED STATES COURT OF APPEALS
                                      FOR THE NINTH CIRCUIT

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